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                            IN THE UNITED STATES DISTRICT
                          COURT FOR THE NORTHERN DISTRICT
                             OF ILLINOIS EASTERN DIVISION

J.R.,                                                       )
                                                            )
                  Plaintiff,                                )
                                                            )
                  vs.                                       )
                                                                   No.: 1:19-CV-8145
                                                            )
BOARD OF EDUCATION OFTHE CITY                               )
OF CHICAGO, LEGAL PREP CHARTER                                     Plaintiffdemand trial by jury
                                                            )
ACADEMIES, AND JAMEL M. HELAIRE-JONES,                      )
                                                            )
                  Defendants.                               )

                                 COMPLAINT AT LAW

          Plaintiff J.R., by and through their attorneys, DINIZULU LAW GROUP, LTD.,

complaining of the Defendants, BOARD OF EDUCATION OF THE CITY OF CHICAGO,

LEGAL PREP CHARTER ACADEMIES, and JAMEL M. HELAIRE-JONES, states as

follows:

                                     INTRODUCTION

          1.      Plaintiff brings this matter to redress the sexual abuse and discrimination

occurring by Defendants Board of Education of the City of Chicago ("Board"), Legal Prep

Charter Academies, and Jamel M. Helaire-Jones ("Helaire-Jones")(collectively referred herein

as "Defendants") . Plaintiff brings this matter seeking damages for the various violations of the

laws of the United States and State of Illinois arising from Defendants' acts and omissions

resulting in harm to J.R.




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                                 JURISDICTION AND VENUE

        2.      This case is brought under Title IX of the Educational Amendments of 1972, 20

U.S.C. § 1681, to redress the sex discrimination against Plaintiff (Count I); 42 U.S.C. § 1983 to

redress the deprivation under color of law of Plaintiffs rights as secured by the United States

Constitution (Counts II-IV), and various state law claims (Counts V-VI).

        3.      This Court has jurisdiction of the action under 28 U.S.C. §§ 1331 and 1367. Venue

is proper under 28 U.S.C. § 139l(b).

        4.        On information and belief, all or most of the parties reside in this judicial

district, and the events giving rise to the claims here all occurred within this district.

                                            PARTIES

        5.        J.R., is a citizen of the Cook County and citizen of the State of Illinois, and was

a minor at the time of the sexual assault alleged in this complaint.

        6.        Defendant Board is a body politic and corporate under the laws of the State of

Illinois. Defendant Board maintains offices at 42 W. Madison Street, Chicago, Cook County,

Illinois.

        7.        Defendant Board is and was responsible for the governance, organizational,

and financial oversight of the staff and administration of Chicago Public Schools ("CPS"), the

third largest school district in the United States of America. Defendant Board, acting through its

agents, servants, and/or employees, is engaged in, among other things, the provision of

education, care, and development services. Defendant Board is responsible for its own acts or

omissions and the conduct of its employees and/or agents under respondeat superior.

        8.        Defendant Legal Prep Charter Academies is a not-for-profit corporation under the

laws of the State of Illinois.
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           9.    Defendant Legal Prep Charter Academies owns and operates a charter school,

Legal Prep Charter Academy ("Legal Prep"), located at 4319 W. Washington Boulevard, Chicago,

Illinois, which is a public school funded, managed, and controlled by the Board. Defendant Legal

Prep Charter Academies received authority delegated to it by Defendant Board.

        10.      Defendant Helaire-Jones is and/or was an employee of Defendants Board and

Legal Prep Charter Academies. At all times relevant herein, Defendant Helaire-Jones worked as a

basketball coach at Legal Prep Charter Academy in the City of Chicago, County of Cook, State of

Illinois.

           11.   At the time of the incident in this complaint, Defendant Helaire-Jones was

engaged in the complained of conduct while acting within the scope of his employment and under

color of state law. Defendant Helaire-Jones is sued in his individual capacity and as agent and/or

employee of Defendants Board and Legal Prep Charter Academies.

                            FACTS COMMON TO ALL COUNTS

           12.   At all relevant times herein, Legal Prep Charter Academy ("Legal Prep") located

at 4319 W. Washington Boulevard, Chicago, Illinois provided instructional programming for high­

school aged students.

           13.   At all relevant times herein, J.R. attended Legal Prep as a student.

           14.   At all relevant times herein, J.R.'s date of birth was December 24, 2000.

        15.      At all relevant times herein, Defendant Board owned, operated, managed,

maintained, and controlled Legal Prep and the employees and/or agents therein.

        16.      At all relevant times herein, Defendant Legal Prep Charter Academies owned,

operated, managed, maintained, and controlled Legal Prep and the employees and/or agents

therein.

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        17.      At all relevant times herein, Defendant Helaire-Jones was employed by the Board

and Legal Prep Charter Academies.

        18.      At all relevant times herein, Defendant Helaire-Jones was an adult in his early

thirties and at least fifteen years older than J.R.

        19.      Prior to his employment with Defendants Board and Legal Prep Charter

Academies, Defendant Helaire-Jones had been arrested and/or charged with various misdemeanor

and felony crimes.

        20.      Of these incidents before his employment with Defendants Board and Legal Prep

Academies, Defendant Helaire-Jones was arrested and accused of abduction (kidnapping) and

attempted sexual assault of an 18-year-old female in Battle Creek, Michigan.

        21.      Despite his criminal background, Defendants Board and Legal Prep Charter

Academies hired Defendant Helaire-Jones as the dean/disciplinarian and girls' basketball coach at

Legal Prep Charter Academy.

       22.       Defendants Board and Legal Prep Charter Academies provided Defendant Helaire-

Jones with unlimited authority and access to the Legal Prep facilities.

       23.       Between August 2018 and November of 2018, Defendant Helaire-Jones initiated a

sexual relationship with J.R., who was a student and member of the girls' basketball team at Legal

Prep Charter Academy as well as a minor without the legal ability to consent to sex.

       24.       Between August 2018 and November of 2018, Defendant Helaire-I ones groomed

and encouraged J.R. to engage in numerous sexual acts with him on the property of Legal Prep.

       25.       Over this time period, Defendant Helaire-Jones continuously made J.R. perform

acts of sexual contact and penetration with him in the locker room and gymnasium at Legal Prep.



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        26.       Once law enforcement learned of the above information, Defendant Helaire-Jones

was arrested and charged with criminal sexual assault of J.R. This criminal matter is currently

pending in Cook County, Illinois.

                  BOARD OF EDUCATION SEXUAL MISCONDUCT REPORT

        27.       On August 16, 2018, Defendant Board, though its retained counsel, released its

Preliminary Report entitled "Preventing and Responding to Sexual Misconduct against Student in

Chicago Public Schools (hereinafter "Report")." See generally Report attached hereto as Exhibit A.

        28.       According to the Report, between 2008 and 2017, the Chicago Police Department

conducted 523 investigations that involved sexual assault or abuse of children within Chicago

schools by fellow students or adults. Id. at 9.

        29.       The Report further revealed that former CPS employees were alleged to have been

the perpetrators in seventy-two (72) of 108 cases selected by the Chicago Tribune. Id.

        30.       According to the Report, the Chicago Tribune also found systematic failures,

including ineffective background checks that caused adults to victimize CPS students. Id.

        31.      According to the Report, the investigative team found "systematic deficiencies in

CPS' efforts to prevent and respond to incidents of sexual misconduct" occurring at all levels of the

schools, the networks, the Central Office, and the Board, and that, "[w]hile there were policies

and procedures about sexual misconduct on the books, employees were not consistently trained on

them, and there were no mechanisms to ensure that they were being uniformly implemented or to

evaluate their effectiveness." Id. at 1.

       32.       The Report documented numerous student-safety issues that Defendant Board

employees must address every year, including crime, drugs, school violence, abuse and neglect at

home, mental health, emergency medical conditions, accidents, and homelessness. Id. at 2.

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       33.      The Report went on to state that "[m]any of these threats are both more prevalent

and visible that sexual misconduct. For this reason, some employees and schools may have

allocated more time and resources toward these dangers, which caused them to give insufficient

attention to sexual misconduct." Id

       34.      Before the release of the Report on August 16, 2018, Defendant Board enacted a

policy to run new and current background checks on all CPS employees, vendors, and volunteers,

and requiring periodic background checks, including employees for Defendant Legal Prep Charter

Academies. Id at 3.

       35.      Given this updated background policy, Defendants Board and Legal Prep Charter

Academies knew or should have known that Defendant Helaire-Jones possessed a criminal

background which included an arrest for kidnapping and attempted sexual assault that made him

unqualified to work in a school with students.

       36.      Due to Defendant Board's and Defendant Legal Prep Charter Academies'

deliberate indifference to the safety of the students and to the enforcement of performing

background screening on their employees, Defendants Board and Legal Prep Charter Academies

retained Defendant Helaire-Jones to work with students, including J.R.

       3 7.    Defendants Board and Legal Prep Charter Academies maintained a widespread

practice and custom of improper sexual contact between CPS employees and their students.

       38.     Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to the widespread practice and custom of improper sexual contact between CPS

Employees and their students created the plainly obviously consequence of abuse by

Defendant Helaire-Jones upon J.R.



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       39.       Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to CPS employees' improper sexual contact with students created a specific and

identifiable threat to the students working with Defendant Helaire-Jones.

       40.       Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to CPS employees' improper sexual contact with students effectively encouraged

Defendant Helaire-Iones to believe that he could engage in improper and unauthorized sexual

contact with students without fear of reprisal or discipline.

       41.    Defendant Board's and Defendant Legal Prep Charter Academies' acted with

deliberate indifference and in a manner that shocks the conscience by permitting Defendant

Helaire-Jones to work with students, including J.R.

       42.    As a result of Defendant Board's and Defendant Legal Prep Charter Academies'

conduct, J.R. suffered harm.

                              COUNT!
      TITLE IX OF THE EDUCATION AMENDMENTS OF 1972 BOARD OF
    EDUCATION OF THE CITY OF CHICAGO ("BOARD") AND LEGAL PREP
                        CHARTER ACADEMIES

       43.    Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1

through 42 as paragraph 43 herein.

       44.    Title IX of the Education Amendments of 1972 ("Title IX") states that:

         No person in the United States shall, on the basis of sex, be excluded from
         participation, in be denied the benefits of, or be subjected to discrimination under
         any education program or activity receiving Federal financial assistance.

  20 U.S.C. § 1681, et seq.




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         45.   Plaintiff J.R. belongs to a protected group under Title IX.

         46.   Defendants Board and Legal Prep Charter Academies provide educational

institutions with programs and activities and are recipients of federal funds for educational

programs and activities as defined under Title IX.

         47.   As described more fully above, J.R. was subjected to discrimination and

harassment by Defendant Helaire-Jones where Defendant Helaire-Jones forced J.R. to engage in

various sexual acts.

         48.   The discrimination and harassment suffered by J.R. was based on sex as described

above.

         49.   Defendants Board and Legal Prep Charter Academies permitted J.R. to be

discriminated against and harassed based on membership in a certain class of individuals.

         50.   Defendants Board and Legal Prep Charter Academies treated J.R. differently than

other similarly-situated individuals not belonging to the class of J.R.

         51.        The discrimination and harassment in the form of repeated acts of sexual

penetration and sexual contact were so severe and pervasive that it altered the conditions of

J.R.'s education.

         52.        Defendants Board and Legal Prep Charter Academies had actual direct notice

of Defendant Helaire-Jones's after learning of his improper sexual contact with J.R. and another

student but Defendants were deliberately indifferent to his misconduct.

         53.        Defendant Board and Defendant Legal Prep Charter Academies, including their

district, network, and school administrators, had· knowledge of Defendant Helaire-Jones's

misconduct and possessed the authority to institute corrective measures; however, Defendants

failed to take corrective measures to stop harm against J.R.
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       54.       As a direct and proximate result of the conduct of Defendant Board and

Defendant Legal Prep Charter Academies, Plaintiff J.R. suffered harm.

     WHEREFORE, Plaintiff respectfully requests:

          a.      Compensatory and punitive damages in an amount to be determined at trial;

          b.     An award of reasonable attorneys' fees, costs, and litigation expenses; and

          c.      Such other relief as the Court may deem just or equitable.

                                      COUNT II
             42 U.S.C. § 1983 - DUE PROCESS VIOLATION - DELIBERATE
          INDIFFERENCE OF THE BOARD OF EDUCATION OF THE CITY OF
           CHICAGO {"BOARD") AND LEGAL PREP CHARTER ACADEMIES

       55.       Plaintiff re-alleges and incorporates each of the paragraphs of this Complaint

contained in paragraphs 1 through 54 as paragraph 55 as if restated herein.

       56.       Under the Fourteenth Amendment to the U.S. Constitution, Plaintiff J.R.

possesses a right to bodily integrity.

       57.       Defendant Legal Prep Charter Academies acted under color of law insofar as it

engaged in conduct that is fairly attributable to the state because Defendant Legal Prep Charter

Academies was jointly engaged with or controlled by Defendant Board and was delegated a

public function in providing public education in Chicago, Illinois.

       58.       Defendants Board and Legal Prep Charter Academies maintained a widespread

practice that is so permanent and well settled as to constitute a custom or usage with the force of

law where these Defendants permitted their employees, such as Defendant Helaire-Jones, to work

with students without conducting adequate background checks.

       59.       Defendants Board and Legal Prep Charter Academies maintained a widespread

practice that is so permanent and well settled as to constitute a custom or usage with the force of


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law where these Defendants failed to train and require their employees to perform and/or

evaluate background checks in order to disqualify Defendant Helaire-Iones from

employment with Defendants Board and Legal Prep Charter Academies.

       60.     Due to Defendant Board's and Defendant Legal Prep Charter Academies'

deliberate indifference to the safety of the students and to the enforcement of performing

background screening on their employees, Defendants Board and Legal Prep Charter

Academies retained Defendant Helaire-Jones to work with students, including J.R.

       61.     Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to the widespread practice and custom of improper and inadequate background

checks and enforcement of these background checks created the plainly obviously

consequence of abuse by Defendant Helaire-Jones upon J.R.

       62.     Where it has been revealed that former CPS employees committed acts of

improper sexual abuse with students in seventy- two (72) of 1 08 cases, Defendants Board and

Legal Prep Charter Academies maintained a widespread practice that is so permanent and

well settled as to constitute a custom or usage with the force of law where these Defendants

have permitted their adult employees, such as Defendant Helaire-Jones, to engage in

improper sexual conduct with students.

       63.    Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to the widespread practice and custom of improper sexual contact between CPS

employees and their students created the plainly obviously consequence of abuse by

Defendant Helaire-Jones uponJ.R.



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       64.        Based on Defendant Board's and Defendant Legal Prep Charter Academies'

widespread practices and customs, Defendants Board and Legal Prep Charter Academies

denied J.R. due process right to bodily integrity under the law as protected by the Fourteenth

Amendment to the U.S. Constitution.


       65.        Defendant Board's and Defendant Legal Prep Charter Academies' widespread

practices and customs unlawfully denied J.R. due process of law in a manner that shocks the

conscience.

       WHEREFORE, Plaintiff respectfully requests:

             a.     Compensatory and punitive damages in an amount to be determined at trial;

             b.     An award of reasonable attorneys' fees, costs, and litigation expenses; and

          c.        Such other relief as the Court may deem just or equitable.

                                 COUNT III
 42 U.S.C. § 1983 - DUE PROCESS VIOLATION - "STATE CREATED DANGER"
BOARD OF EDUCATION OF THE CITY OF CHICAGO ("BOARD") AND LEGAL
                         PREP CHARTER ACADEMIES

       66.          Plaintiff re-alleges and incorporates each of the paragraphs of this Complaint

contained in paragraphs I through 65 as paragraph 66 as if restated herein.

       67.          Under the Fourteenth Amendment to the U.S. Constitution, Plaintiff J.R.

possesses a right to bodily integrity.

       68.          Defendant Legal Prep Charter Academies acted under color of law insofar as it

engaged in conduct that is fairly attributable to the state because Defendant Legal Prep Charter

Academies was jointly engaged with or controlled by Defendant Board and was delegated a

public function in providing public education in Chicago, Illinois.



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       69.       Defendants Board and Legal Prep Charter Academies maintained a widespread

practice that is so permanent and well settled as to constitute a custom or usage with the force of

law where these Defendants permitted their employees, such as Defendant Helaire-I ones, to work

with students without conducting background checks.

       70.      Due to Defendant Board's and Defendant Legal Prep Charter Academies'

deliberate indifference to the safety of the students and to the enforcement of performing

background screening on their employees, Defendants Board and Legal Prep Charter Academies

retained Defendant Helaire-Jones to work with students, including J.R.

       71.      Defendants Board and Legal Prep Charter Academies maintained a widespread

practice and custom of improper sexual contact between CPS employees and their students.

       72.      Where it has been revealed that former CPS employees committed acts of

improper sexual abuse with students in seventy-two (72) of 108 cases, Defendants Board and

Legal Prep Charter Academies maintained a widespread practice that is so permanent and well

settled as to constitute a custom or usage with the force of law where these Defendants have

permitted their adult employees, such as Defendant Helaire-Jones, to engage in improper sexual

conduct with students.

       73.      Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to the widespread practice and custom of improper sexual contact between CPS

employees and their students created the plainly obviously consequence of abuse by Defendant

Helaire-Jones upon J.R.

       74.      Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to CPS employees' improper sexual contact with students created a specific and

identifiable threat to the students working with Defendant Helaire-Jones.

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       75.       Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to CPS employees' improper sexual contact with students created a heightened danger

because Defendants Board and Legal Prep Charter Academies effectively encouraged Defendant

Helaire-Jones to believe that he could engage in improper and unauthorized sexual contact with

students without fear ofreprisal or discipline.

       76.       Defendant Board's and Defendant Legal Prep Charter Academies' acted with

deliberate indifference implied to Defendant Helaire-Jones that his actions were permissible, and

thus, the acts of Defendants Board and Legal Prep Charter Academies affirmatively increased the

risk ofdanger to the students at Legal Prep, including J.R.

       77.       Through their actions, Defendants Board and Legal Prep Charter Academies

placed J.R. in a heightened danger that she would not have otherwise faced.

       78.       Defendant Board's and Defendant Legal Prep Charter Academies' repeated and

sustained acts of permitting improper sexual abuse between employees and students constituted

prior assurances rising to the level of an affirmative condoning of sexual abuse by Defendant

Helaire-Jones.

       79.       At all relevant times herein, J.R. was a foreseeable victim and a member of a

discrete class ofpersons that was exposed to the actions ofDefendant Helaire-Jones.

       80.       Defendants Board and Legal Prep Charter Academies effectively encouraged

Defendant Helaire-Jones that he will not be arrested, punished, or otherwise interfered with while

engaging in misconduct that is likely to endanger the lives ofthe students at Legal Prep, including

J.R.

       81.       Defendant Board's and Defendant Legal Prep Charter Academies' conduct

unlawfully denied J.R. due process oflaw in a manner that shocks the conscience.

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       WHEREFORE, Plaintiff respectfully requests:
         a.     Compensatory and punitive damages in an amount to be determined at trial;
         b.     An award ofreasonable attorneys' fees, costs, and litigation expenses; and
         c.     Such other reliefas the Court may deem just or equitable.

                                     COUNT IV
       42 U.S.C. § 1983 - DUE PROCESS VIOLATION JAMEL M. HELAIRE-JONES

       82.      Plaintiff re-alleges and incorporates each ofthe paragraphs of this Complaint

contained in paragraphs 1 through 81 as paragraph 82 as ifrestated herein.

       83.      Under the Fourteenth Amendment to the U.S. Constitution, Plaintiff J.R.

possesses a right to bodily integrity.

       84.      Defendant Helaire-Jones's unauthorized and non-consensual sexual contact

with J.R. and his improper sexual abuse and assault with J.R. denied J.R. due process under

the law as protected by the Fourteenth Amendment to the U.S. Constitution.

       85.      Defendant Helaire-Jones's improper sexual abuse and assault with J.R.

unlawfully denied J.R. due process oflaw in a manner that shocks the conscience.

       86.      At all times relevant herein, Defendant Helaire-Jones acted under color of

law.

       87.      As a direct and proximate result of the foregoing conduct of Defendant

Helaire- Jones, Plaintiff J.R. suffered harm.

       WHEREFORE, Plaintiff respectfully requests:

         a.     Compensatory and punitive damages in an amount to be determined at trial;

        b.      An award ofreasonable attorneys' fees, costs, and litigation expenses; and

        c.      Such other reliefas the Court may deem just or equitable.


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                                       COUNTV
                                     NEGLIGENCE
                            LEGAL PREP CHARTER ACADEMIES

       88.        Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1

through 87 as paragraph 88herein.

       89.        Defendant Legal Prep Charter Academies, by and through their agents and/or

employees, knew or should have known that Defendant Helaire-Jones was grooming Plaintiff J.R.

through his influence as dean/disciplinarian and basketball coach in order to commit sexual

conduct upon her.

       90.      Defendant Legal Prep Charter Academies, by and through their agents and/or

employees, owed a duty to J.R. to report Defendant Helaire-Jones's conduct to law enforcement or

the Department of Children and Family Services ("DCFS").

       91.      At all relevant times herein, there was in effect a certain statute, 105 ILCS 5/1, et

seq., commonly known as the Illinois School Code.

       92.      At all relevant times herein, Defendant Legal Prep Charter Academies, by and

through their agents and/or employees, had a duty to abide by the policies set forth in the Illinois

School Code.

        93.     At all relevant times herein, there was in effect a certain statute, 325 ILCS 5/1, et

 seq., commonly known as the Abused or Neglected Child Reporting Act.

        94.     At all relevant times herein, Defendant Legal Prep Charter Academies' employees

 and/or agents had a duty to abide by the policy set forth in the Abused or Neglected Child

 Reporting Act.




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       95.    At all relevant times herein, Defendant Legal Prep Charter Academies'

employees and/or agents were mandated reporters as defined in the Abused or

Neglected Child Reporting Act.

       96.   Under 325 ILCS 5/4, the Abused or Neglected Child Reporting Act

provides that school personnel having reasonable cause to believe a child known to

them in their professional or official capacity may be an abused child shall immediately

report or cause a report to be made to DCFS.

       97.   Under 89 Ill. Adm. Code § 300 app. B. at 8, sexual exploitation is a

Priority I harm which generates the initiation of an immediate investigation by DCFS.

       98.   As a result of this mandated reporting proscribed by law, Defendant Legal

Prep Charter Academies' employees and/or agents were divested of the exercise of

discretion and the determination of policy based on the failure to report.

      99.    At all relevant times herein, Defendant Legal Prep Charter Academies

defined all school-based personnel as mandated reporters and, where reasonable cause

to believe the child known to him or her in their official capacity may have been abused

or neglected children, they are required to immediately call the DCFS Hotline.

      100. Defendant Legal Prep Charter Academies knew or should have known that

its agents, servants, and/or employees and other school-based personnel needed

training, direction, and supervision on mandated reporting, but it was deliberately

indifferent to provide adequate training on mandated reporting.



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        101. Prior to and during Defendant Helaire-Jones' improper sexual contact w ith

 J.R., Defendant Legal Prep Charter Academies enacted an updated policy to run new

 and current background checks on all CPS employees, vendors, and volunteers, and requiring

 periodic background checks.

       102.      Defendant Legal Prep Charter Academies knew or should have known that

Defendant Helaire-Jones possessed a criminal background which included an arrest for

kidnapping and attempted sexual assault that made him unqualified to work in a school with

students.

       103.      Despite this background check policy and knowledge of Defendant Helaire-

Jones' improper sexual grooming and sexual contact with J.R., Defendant Legal Prep Charter

Academies retained Defendant Helaire-Jones to work with students, including J.R.

       104.      Defendant Legal Prep Charter Academies, by and through its agents and/or

employees, breached its duty and was negligent in the following ways:

            a.   Failed to report grooming and sexual contact between Defendant Helaire-Jones
                 with Plaintiff J.R. to appropriate law enforcement or DCFS as required by state
                 law;

            b.   Failed to supervise or monitor Defendant Helaire-Jones m order prevent the
                 improper grooming and sexual conduct with Plaintiff J.R.;

            c.   Improperly hired or retained Defendant Helaire-Jones where it knew or should
                 have known of his criminal history and grooming of J.R.;

            d.   Failed to reasonably direct, instruct, supervise, monitor, and train its agents,
                 servants, and/or employees to ensure timely and proper reporting of grooming
                 and sexual abuse, including grooming and abuse of Plaintiff J.R.; and

            e.   Failed to adequately conduct background checks on Defendant Helaire-Jones.




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          105.    As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Defendant Legal Prep Charter Academies breached its duty and caused harm to

Plaintiff J.R.

          WHEREFORE, Plaintiff respectfully requests:

           a.     Compensatory damages in an amount to be determined at trial;

           b.     An award of reasonable costs and litigation expenses; and

           c.     Such other relief as the Court may deem just or equitable.

                                COUNT VI
                      WILLFUL AND WANTON CONDUCT
           BOARD OF EDUCATION OF THE CITY OF CHICAGO ("BOARD")
                   AND LEGAL PREP CHARTER ACADEMIES

          105.    Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1

through 105 as paragraph 106 herein.

          106.    Defendants Board and Legal Prep Charter Academies knew or should have

known that between 2008 and 2017, the Chicago Police Department conducted 523 investigations

that involved sexual assault or abuse of children within Chicago schools by fellow students or

adults.

          107.    Defendants Board and Legal Prep Charter Academies knew or should have

known that former CPS employees were alleged to have been the perpetrators in approximately

seventy percent of these investigations.

          108.    Defendants Board and Legal Prep Charter Academies, by and through their

agents and/or employees, with notice of a substantial danger of harm, knew that Defendant

Helaire- Jones was grooming Plaintiff J.R. through his influence as dean/disciplinarian and

basketball coach in order to commit sexual conduct upon her.

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       109.     Defendants Board and Legal Prep Charter Academies, by and through their

agents and/or employees, owed a duty to J.R. to report Defendant Helaire-Jones's conduct to law

enforcement or DCFS.

       110.     At all relevant times herein, there was in effect a certain statute, 105 ILCS 5/1, et

seq., commonly known as the Illinois School Code.

       111.      At all relevant times herein, Defendants Board and Legal Prep Charter

Academies, by and through their agents and/or employees, had a duty to abide by the policies set

forth in the Illinois School Code.

       112.      At all relevant times herein, there was in effect a certain statute, 325 ILCS 5/1, et

seq., commonly known as the Abused or Neglected Child Reporting Act.

       113.      At all relevant times herein, Defendants Board's and Legal Prep Charter

Academies' employees and/or agents had a duty to abide by the policy set forth in the Abused or

Neglected Child Reporting Act.

       114.     At all relevant times herein, Defendants Board's and Legal Prep Charter

Academies' employees and/or agents were mandated reporters as defined in the Abused or

Neglected Child Reporting Act.

       115.     Under 325 ILCS 5/4, the Abused or Neglected Child Reporting Act provides that

school personnel having reasonable cause to believe a child known to them in their professional

or official capacity may be an abused child shall immediately report or cause a report to be made

to DCFS.

       116.     Under 89 Ill. Adm. Code § 300 app. B. at 8, sexual exploitation is a Priority I

harm which generates the initiation of an immediate investigation by DCFS.



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       118.     As a result of this mandated reporting proscribed by law, Defendants Board's and

Legal Prep Charter Academies' employees and/or agents were divested of the exercise of

discretion and the determination of policy based on the failure to report.

       119.     At all relevant times herein, Defendants Board and Legal Prep Charter

Academies defined all school-based personnel as mandated reporters and, where reasonable cause

to believe the child known to him or her in their official capacity may have been abused or

neglected children, they are required to immediately call the DCFS Hotline.

       120.     Defendants Board and Legal Prep Charter Academies knew or should have

known that their agents, servants, and/or employees and other school-based personnel needed

training, direction, and supervision on mandated reporting, but it was deliberately indifferent to

provide adequate training on mandated reporting.

       121.     Prior to and during Defendant Helaire-Jones' improper sexual contact with J.R.,

Defendants Board and Legal Prep Charter Academies enacted an updated policy to run new and

current background checks on all CPS employees, vendors, and volunteers, and requiring periodic

background checks.

       122.     Defendants Board and Legal Prep Charter Academies knew or should have

known that Defendant Helaire-Jones possessed a criminal background which included an arrest

for kidnapping and attempted sexual assault that made him unqualified to work in a school with

students.

       123.     Despite this background check policy and kn·owledge of Defendant Helaire-Jones'

improper sexual grooming and sexual contact with J.R., Defendants Board and Legal Prep

Charter Academies retained Defendant Helaire-Jones to work with students, including J.R.



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        124.        Defendants Board and Legal Prep Charter Academies, by and through their agents

and/or employees, were willful and wanton in the following ways:

         a.         Failed to report grooming and sexual contact between Defendant Helaire-Jones
                    with Plaintiff J.R. to appropriate law enforcement or DCFS as required by state
                    law with utter indifference to or in conscious disregard for the safety of others;

         b.         Failed to monitor Defendant Helaire-Jones in order prevent the improper
                    grooming and sexual conduct with Plaintiff J.R. with utter indifference to or in
                    conscious disregard for the safety of others;

         c.         Improperly retained Defendant Helaire-Jones where it knew or should have
                    known of his criminal history and grooming of J.R. with utter indifference to or
                    in conscious disregard for the safety of others;

         d.         Failed to reasonably direct, instruct, supervise, monitor, and train its agents,
                    servants, and/or employees to ensure timely and proper reporting of sexual abuse,
                    including abuse of Plaintiff J.R. with utter indifference to or in conscious
                    disregard for the safety of others; and

         e.         Failed to adequately conduct background checks on Defendant Helaire-Jones with
                    utter indifference to or in conscious disregard for the safety of others.

        125.        Defendants Board's and Legal Prep Charter Academies' conduct was with

reckless indifference or conscious disregard to the safety of J.R. with utter indifference to or in

conscious disregard for the safety ofothers.

        126.        As a direct and proximate result of one or more of the aforesaid willful and

wanton acts and/or omissions, Defendants Board and Legal Prep Charter Academies caused harm

to Plaintiff J.R.

        WHEREFORE, Plaintiff respectfully requests:

         a.         Compensatory damages in an amount to be determined at trial;

         b.         An award of reasonable costs and litigation expenses; and

         c.         Such other relief as the Court may deem just or equitable.



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                           COUNT VII-ASSAULT AND BATTERY
                               JAMEL M. HELAIRE-JONES

       127.     Plaintiff incorporates paragraphs 1 to 42, as though fully stated herein.

       128.     Defendant Robert Buchanan, intentionally committed multiple voluntary and

affirmative acts that resulted in the harmful or offensive touching to Plaintiffs body.

       129.     Jamel H. Helaire-Jones' physical contact was taken place without Plaintiffs

consent.

       130.     Jamel H. Helaire-Jones' intentionally and unlawfully attempted to inflict corporal

injury to Plaintiff by force, or unlawful directed force, under circumstances that create a well­

founded fear of imminent peril coupled with the apparent present ability to do so, if not prevented.

       131.     Plaintiff was in reasonable fear of injury.

       132.     As a direct and proximate result of Defendant's conduct, Plaintiff suffered injuries,

including but not limited to severe emotional and psychological injuries.

       WHEREFORE, Plaintiff respectfully requests:

           a.    Compensatory damages in an amount to be determined at trial;

           b.    An award of reasonable costs and litigation expenses; and

           c.    Such other relief as the Court may deem just or equitable.

       COUNT VIII-INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                       JAMEL M. HELAIRE-JONES

       133.     Plaintiff incorporates paragraphs 1 to 42, as though fully stated herein.

       134.     Defendant's conduct in the repeated rape and sexual assault of Plaintiff was so

extreme and outrageous as to go beyond all possible bounds of decency.

       135.     From August 2018 through November 2018, Plaintiff was repeatedly sexually

assaulted and experienced severe fright, h01Tor, grief, shame, humiliation, and won-y.

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       136.     No reasonable person, especially a minor, could have endured the Defendant's

conduct.

       137.     As a direct and proximate result of Defendant's conduct, Plaintiff suffered injuries,

including but not limited to severe emotional and psychological injuries.

       WHEREFORE, Plaintiff respectfully requests:

           a.    Compensatory damages in an amount to be determined at trial;

           b.    An award of reasonable costs and litigation expenses; and

           c.    Such other relief as the Court may deem just or equitable.

                      COUNT IX-FRAUDULENT CONCEALMENT
                   BOARD OF EDUCATION OF THE CITY OF CHICAGO

       138.     Plaintiff incorporates paragraphs 1 to 42, as though fully stated herein.

       139.     Defendant Board of Education of the City of Chicago owed a fiduciary or

confidential relationship toward the Minor Plaintiff J.R..

       140.     Defendant having knowledge of the rapist's name, created a special relationship

between the parties and consequently bestowed upon Plaintiff the right to be protected.

       141.     Defendant, by and through its agents, willfully and wantoningly and/or with

reckless disregard fraudulently concealed Plaintiff's cause of action, as follows:

                a. Knowingly and actively suppressed the truth with the intent to prevent inquiry

                   or knowledge of the injury.

                b. Knowingly failing to disclose when Defendant had a duty to speak with the

                   intent to prevent inquiry or knowledge of the injury.

                c. Conveyed to the Plaintiff a knowing or intentional, material misrepresentation

                   upon which the Plaintiff reasonably, and without knowledge, acted or relied.


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        142.   As a direct and proximate result of Defendant's fraudulent concealment, J.R.

suffered injuries, including but not limited to severe emotional and psychological injuries.

       WHEREFORE, Plaintiff respectfully requests:

         a.     Compensatory damages in an amount to be determined at trial;

         b.     An award of reasonable costs and litigation expenses; and

         c.     Such other relief as the Court may deem just or equitable.

                        COUNT X- FRAUDULENT CONCEALMENT
                          LEGAL PREP CHARTER ACADEMIES

        143.   Plaintiff incorporates paragraphs 1 to 42, as though fully stated herein.

        144.   Defendant Board of Education of the City of Chicago owed a fiduciary or

confidential relationship toward the Minor Plaintiff J.R ..

        145.   Defendant having knowledge of the rapist's name, created a special relationship

between the parties and consequently bestowed upon Plaintiff the right to be protected.

        146.   Defendant, by and through its agents, willfully and wantoningly and/or with

reckless disregard fraudulently concealed Plaintiffs cause of action, as follows:

               a. Knowingly and actively suppressed the truth with the intent to prevent inquiry

                   or knowledge of the injury.

               b. Knowingly failing to disclose when Defendant had a duty to speak with the

                   intent to prevent inquiry or knowledge of the injury.

               c. Conveyed to the Plaintiff a knowing or intentional, material misrepresentation

                   upon which the Plaintiff reasonably, and without knowledge, acted or relied.

       147.    As a direct and proximate result of Defendant's fraudulent concealment, J.R.

suffered injuries, including but not limited to severe emotional and psychological injuries.

       WHEREFORE, Plaintiff respectfully requests:
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         a.      Compensatory damages in an amount to be determined at trial;

         b.      An award of reasonable costs and litigation expenses; and

         c.      Such other relief as the Court may deem just or equitable.

                      COUNT XI - ILLINOIS GENDER VIOLENCE ACT
                              JAMEL M. HELAIRE-JONES

        148.    Plaintiff incorporates paragraphs 1 to 42, as though fully stated herein.

        149.    This allegation is made pursuant to the Gender Violence Act, 740 ILCS 82, et seq.

        150.    As described more fully above, the conduct of the Defendant toward J.R., a female,

constituted a physical intrusion of a sexual nature under coercive conditions. The Defendant's

actions constituted unjustified and offensive physical contact. Defendant's conduct proximately

caused the Plaintiff injuries.

        151.    The misconduct described in this Count was undertaken with malice, was willful

and wanton, was recklessly indifferent to the rights of others, and was objectively umeasonable

        152.    The misconduct described in this Count was undertaken by the Defendant Jamel

M. Helaire-Jones within the scope of his employment and under color of law such that his

employer, Board of Education of the City of Chicago and/or Legal Prep Charter Academies, is

liable for his actions.

        153.    As a direct and proximate result of Defendant's actions, J.R., a female, suffered

injuries, including but not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

         a.      Compensatory damages in an amount to be determined at trial;

         b.      An award of reasonable costs and litigation expenses; and

         c.      Such other relief as the Court may deem just or equitable.

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                      COUNT XII - ILLINOIS GENDER VIOLENCE ACT
                      BOARD OF EDUCATION OF CITY OF CHICAGO

        154.    Plaintiff incorporates paragraphs 1 to 42, as though fully stated herein.

        155.    This allegation is made pursuant to the Gender Violence Act, 740 ILCS 82, et seq.

        156.    Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee

and/or agent of Defendants Board of Education of the City of Chicago and/or Legal Prep Charter

Academies., to be the dean/disciplinarian and girls' basketball coach at Legal Prep Charter

Academy, where J.R., a female, was a student. .

        157.    At all times relevant herein, Defendant, knew and/or should have known of Jamel

M. Helaire-Jones' abusive behavior in violation of the contractual duties under the contract,

and/or history of violence and/or excessive force and discriminatory conduct.

        158.    As described more fully above, the conduct of the Defendant toward J.R., a female,

constituted a physical intrusion of a sexual nature under coercive conditions. The Defendant's

actions constituted unjustified and offensive physical contact. Defendant's conduct proximately

caused the Plaintiff injuries.

        159.    The misconduct described in this Count was undertaken with malice, was willful

and wanton, was recklessly indifferent to the rights of others, and was objectively unreasonable

        160.    The misconduct described in this Count was undertaken by the Defendant Jamel

M. Helaire-Iones within the scope of his employment and under color of law such that his

employer, Board of Education of the City of Chicago and/or Legal Prep Charter Academies, is

liable for his actions.

        161.    As a direct and proximate result of Defendant's actions, J.R., a female, suffered

injuries, including but not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:
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         a.      Compensatory damages in an amount to be determined at trial;

         b.      An award of reasonable costs and litigation expenses; and

         c.      Such other relief as the Court may deem just or equitable.

                    COUNT XIII - ILLINOIS GENDER VIOLENCE ACT
                        LEGAL PREP CHARTER ACADEMIES

        162.    Plaintiff incorporates paragraphs 1 to 42, as though fully stated herein.

        163.    This allegation is made pursuant to the Gender Violence Act, 740 ILCS 82, et seq.

        164.    Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee

and/or agent of Defendants Board of Education of the City of Chicago and/or Legal Prep Charter

Academies., to be the dean/disciplinarian and girls' basketball coach at Legal Prep Charter

Academy, where J.R., a female, was a student..

        165.    At all times relevant herein, Defendant, knew and/or should have known of Jamel

M. Helaire-Jones' abusive behavior in violation of the contractual duties under the contract,

and/or history of violence and/or excessive force and discriminatory conduct.

        166.    As described more fully above, the conduct of the Defendant toward J.R., a female,

constituted a physical intrusion of a sexual nature under coercive conditions. The Defendant's

actions constituted unjustified and offensive physical contact. Defendant's conduct proximately

caused the Plaintiff injuries.

        167.    The misconduct described in this Count was undertaken with malice, was willful

and wanton, was recklessly indifferent to the rights of others, and was objectively umeasonable

        168.    The misconduct described in this Count was undertaken by the Defendant Jamel

M. Helaire-Iones within the scope of his employment and under color of law such that his



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employer, Board of Education of the City of Chicago and/or Legal Prep Charter Academies, is

liable for his actions.

        169.     As a direct and proximate result of Defendant's actions, J.R., a female, suffered

injuries, including but not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

           a.    Compensatory damages in an amount to be determined at trial;

           b.    An award of reasonable costs and litigation expenses; and

           c.     Such other relief as the Court may deem just or equitable.

                COUNT XIV -ILLINOIS HATE CRIME ACT, 720 ILCS 5/12-7.1
                  BOARD OF EDUCATION OF THE CITY OF CHICAGO

        170.     That the Plaintiff restates and alleges the allegations contained with paragraphs 1-

42 of this Complaint as set forth above and fully set forth herein. Plaintiff further states as

follows:

        171.     Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee

and/or agent of Defendants Board of Education of the City of Chicago and/or Legal Prep Charter

Academies., to be the dean/disciplinarian and girls' basketball coach at Legal Prep Charter

Academy, where J.R., a female, was a student. .

        172.    At all times relevant herein, Defendant, knew and/or should have known of Jamel

M. Helaire-Jones' abusive behavior in violation of the contractual duties under the contract,

and/or history of violence and/or excessive force and discriminatory conduct.

        173.    Defendant Jamel M. Helaire-Jones committed an act of violence by assaulting and

battering J.R., because of J.R. gender, as defined and in violation of Illinois Hate Crime Act, 720

ILCS 5/12.71.


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       174.      As a direct and proximate result of the assault and battery by the Defendant, by its

agents and employees working in the scope of their employment, Plaintiff incurred severe and

permanent injuries including but not limited to physical injuries, emotional injury, loss of family

and social experience, and embarrassment.

       175.      Plaintiff is entitled to attorney fees, costs and punitive damages pursuant to 720

ILCS 5/12-7.1.

       WHEREFORE, Plaintiff respectfully requests:

           a.     Compensatory damages in an amount to be determined at trial;

           b.     An award of reasonable costs and litigation expenses; and

           c.     Such other relief as the Court may deem just or equitable.


                COUNT XV -ILLINOIS HATE CRIME ACT, 720 ILCS 5/12-7.1
                        LEGAL PREP CHARTER ACADEMIES

       176.      That the Plaintiff restates and alleges the allegations contained with paragraphs 1-

42 of this Complaint as set forth above and fully set forth herein. Plaintiff further states as

follows:

       177.      Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee

and/or agent of Defendants Board of Education of the City of Chicago and/or Legal Prep Charter

Academies., to be the dean/disciplinarian and girls' basketball coach at Legal Prep Charter

Academy, where J.R., a female, was a student. .

       178.      At all times relevant herein, Defendant, knew and/or should have known of Jamel

M. Helaire-Jones' abusive behavior in violation of the contractual duties under the contract,

and/or history of violence and/or excessive force and discriminatory conduct.



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       179.     Defendant Jamel M. Helaire-Iones committed an act of violence by assaulting and

battering J.R., because of J.R. gender, as defined and in violation of Illinois Hate Crime Act, 720

ILCS 5/12.71.

       180.      As a direct and proximate result of the assault and battery by the Defendant, by its

agents and employees working in the scope of their employment, Plaintiff incurred severe and

permanent injuries including but not limited to physical injuries, emotional injury, loss of family

and social experience, and embarrassment.

       181.      Plaintiff is entitled to attorney fees, costs and punitive damages pursuant to 720

ILCS 5/12-7.1.

       WHEREFORE, Plaintiff respectfully requests:

           a.    Compensatory damages in an amount to be determined at trial;

           b.     An award of reasonable costs and litigation expenses; and

           c.     Such other relief as the Court may deem just or equitable.


                COUNT XVI-ILLINOIS HATE CRIME ACT, 720 ILCS 5/12-7.1
                            JAMEL M. HELAIRE JONES

       182.     That the Plaintiff restates and alleges the allegations contained with paragraphs 1-

42 of this Complaint as set forth above and fully set forth herein. Plaintiff further states as

follows:

       183.     Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee

and/or agent of Defendants Board of Education of the City of Chicago and/or Legal Prep Charter

Academies., to be the dean/disciplinarian and girls' basketball coach at Legal Prep Charter

Academy, where J.R., a female, was a student. .



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       184.     Defendant Jamel M. Helaire-Jones committed an act of violence by assaulting and

battering J.R., because of J.R. gender, as defined and in violation of Illinois Hate Crime Act, 720

ILCS 5/12.71.

       185.     As a direct and proximate result of the assault and battery by the Defendant, by its

agents and employees working in the scope of their employment, Plaintiff incurred severe and

permanent injuries including but not limited to physical injuries, emotional injury, loss of family

and social experience, and embarrassment.

       186.     Plaintiff is entitled to attorney fees, costs and punitive damages pursuant to 720

ILCS 5/12-7.1.

       WHEREFORE, Plaintiff respectfully requests:

        a.       Compensatory damages in an amount to be determined at trial;

        b.       An award of reasonable costs and litigation expenses; and

        c.       Such other relief as the Court may deem just or equitable.


                                        JURY DEMAND

        Plaintiff respectfully demands a trial by jury.

                                                     Respectfully submitted,

                                                     DINIZULU LAW GROUP, LTD.


                                                      s/Yao 0. Dinizulu
                                                     One of the Attorneys for the Plaintiff



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